[EDITOR'S NOTE: This case is unpublished as indicated by the issuing court.]
MEMORANDUM OF DECISION RE: MOTION TO SET ASIDE (#207)
The plaintiff, Pie Plate, Inc., filed his Motion to Set Aside Verdict in the above-entitled matter. The plaintiff claims that the court failed to mark for identification a phone log during the course of the trial. The phone log is attached to defendant Texaco's Response to plaintiff's Devino's Memorandum in Support of His Motion to Set Aside the Verdict, Pleading number 214, as Exhibit A. At the time of argument on this motion, the defendant offered to have the phone log marked for identification.
The defendant, Texaco, however, does not suggest the document be admitted as a full exhibit (See Reply of Texaco, Inc., dated May 14, 1991, pp. 4-6).
At the time of trial, the court did not refuse to mark the phone log an exhibit for identification, nor was an exception taken. (See transcript attached to Texaco Reply, dated May 14, 1992. Since the defendant, Texaco, has offered to mark the log as an identification exhibit reserving to it all other objections made by it as set forth in its Reply Brief, dated May 14, 1992, the court hereby marks said phone log for identification only as a court exhibit for purposes of review. CT Page 5009
Plaintiff Pie Plate Inc.'s Motion to Set Aside Verdict is hereby denied.
MEADOW, JUDGE